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 AO 239 (Rev. 01/15) Application to Proceed in District Comt Without Prepaying Fees or Costs (Long Form)
                                                                                                                               FILED
                                        UNITED STATES DISTRICT COURT                                                         MAY 2 2 2018
                                                                           for the
                                                                                                                         PETER A. MOORE. JR., CLERK
                                                                                                                          US DISTRICT COURT, EDNC
                                                \Eastern District of N ort.h Carolina                                   BY                  DEPCLK
                                                   °'-----·---·-~~--·-~------·-----·-----·~--    ------~"'
                         Katherine Harris                                      )
                         PlaintiffePetitioner                                  )
                               v.                                              )        Civil Action No.        5:18-cv-00186-BO
                 State of North Carolina, et al                                )
                       Defendant/Respondent                                    )

         APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        ·                       · · {Long Fom)


  Affidavit in Support of the Application                                    Instructions ·

  I am a plaintiff or petitioner in this case and declare                    Comple~ all ql,lestions in this application and then sign it.
  that I am unable to pay the costs of these proceedings                     Do notlei:i.Ve any bianks: if the answer to a question is "O,"
  and that I am entitled to the relief requested. I declare                              or
                                                                             "none," "notapplicable (NIA)," write that :response. If
  under penalty of perjury that the information below is                     you need more ~pace to answer a question or to explain your
  true and understand that a false statement may result in                   answer, attach a separate sh€:et ofpaperidentified with your
  a dismissal of my claims.                                                  name, your cas~·s ·docketnumber, and the ql,lestion number.

  Signed:~ /'~                                                               Date~4a
                                                                             ·         ~vr          ·
                                                                                                  5/01/2018
                                                                                                            .
 I.        For both you and your spouse estimate the aver,:tge .ampuµt,oflllcmey received.froni each of the following
           sources during the past 12·months. Adjusta11y am9\1Tlttfo~.twasr~¢eived· "\Veef<ly, biweekly, quarterly, .
           semiannually, or annually to show the,111ontl11yr~t¢, lJs~ gross aril.olll.its,that is;.amounts before any deductions
           for taxes or otherwise.               . · .       .· ·. · · · , · . ·  · ··

                       Income source                                   Averag~ 1Jio11tbly'i1J.come ·                Income amount expected
                                                                       amoul!htufi_iig t11e·past U                        nextmontb
                                                                                months
                                                                           You·                 · Spotlse             You              Spouse
 Employment
                                                                   $                    0 $                   0 $              0 $                  0
 Self-employment
                                                                                                    .
                                                                  $                    0 $                  0 $                0 $                  0
 Income from real property (such as rental income) ·
                                                                  $                     0 $                 0 $                0 $                  0
· Interest and dividends
                                                                  $                    0 $                  0 $                0 $                  0
 Gifts
                                                                  $                    0 $                  0 $                0 $                  0
 Alimony
                                                                  $                    0 $                  0 $                0 $                  0
 Child support
                                                                  $                    0 $                  0 $                0 $                  0



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Retirement (such as social security, pensions, annuities,
                                                                  $           2600.00 $               1025.00 $        2600.00 $      1025.00
insurance)
Disability (such as social security, insurance payments)
                                                                  $              00.00 $                   00.00 $       00.00 $
Unemployment payments
                                                                  $              00.00 $                   00.00 $       00.00 $
Public-assistance (such as welfare)
                                                                  $              00.00 $                   00.00 $       00.00 $
Other (specify):
                                                                  $              00.00 $                   00.00 $       00.00 $

                                                                  $           2600.00 $               1025.00 $          2600 $       1025.00
                                 Total monthly income:

2.        List your employment history for the past two years, most recent employer first. (Gross monthly pay is before ta.xes or
          other deductions.)

Employer                             Address                                                       Dates of employment             Gross
                                                                                                                                 monthly pay
                                                                                                                                 $

                                                                                                                                 $


3.        List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
          ta.xes or other deductions.)

Employer                             Address                                                       Dates of employment             Gross
                                                                                                                                 monthly pay
                                                                                                                                 $

                                                                                                                                 $

                                                                                                                                 $

4.        How much cash do you and your spouse have? $                                300.00

          Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution                          Type of account                                    Amount you have               Amount your
                                                                                                                                 spouse has
Stste Employees Credit Union                    checking                                  $                          50.00 $            00.00

Woodforest Bnak                                 checking                                  $                          100.00 $          100.00

                                                                                          $                                 $

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.



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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings.
                                                      Assets owned by you or yom· spouse


Home (Value)                                                                                                       $          (equity)    20,000.00
Other real estate (Value)
                                                                                                                   $                             0

Motor vehicle #J (Value)                                                                                    ,      $                       1000.00

                  Make and year: 2000               Chevrolet

                  Model:                Silverado

                  Registration #: 1GEC14V2YZ211829

Motor vehicle #2 (Value)                                                                                           $           TOTALED         0.00

                  Make and year: 2007 Dodge

                  Model:                Caliber

                  Registration#: 1BHB48B37D347093

Other assets (Value)                                                                                               $                              0

Other assets (Value)                                                                                               $                              0


6.         State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse                            Amount owed to you                                   Amount owed to your spouse
money
                                                $                                                    $                                            0

                                                $                                                    $                                            0

                                                $                                                    $                                            0

7.         State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only)                                         Relationship                                               Age

 NIA




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 8.          Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
             spouse. Ac:Uust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
             monthly rate.
         -
                                                                                                                You              Your spouse

 Rent or home-mortgage payment (including lot rented for mobile home)
         Are real estate taxes included? ~ Yes CJ No                                                        $     1400.00 $
         Is property insurance included? C!f Yes ONo
                                                                                                                                                     '
 Utilities (electricity, heatingfuel   wale1~ sewer, and telephone)                                         $         300.00 $

 Home maintenance (repairs and upkeep}                                                                      $          75.00 $

 Food                                                                                                       $         400.00 $

 Clothing                                                                                                   $         150.00 $

 Laundry and dry-cleaning                                                                                   $          60.00 $

 Medical and dental expenses                                                                                $         250.00 $           100.00

 Transportation (not including motor vehicle payments)                                                      $         120.00 $           100.00

 Recreation, entertainment, newspapers, magazines, etc.                                                     $          80.00 $

' Insurance (not deducted from wages or included in mortgage payments)

             Homeowner's or renter's:                                                                       $                $

             Life:                                                                                          $                $              175

             Health:                                                                                        $                $           129.00

             Motor vehicle:                                                                                 $         120.00 $           120.00

             Other:                                                                                         $                $
 Taxes (not deductedfi·om wages or included in mortgage payments) (specifY):
                                                                                                            $                $      -



 Installment payments

             Motor vehicle:                                                                                 $             o$                   0

             Credit card (name):                                                                            $              o$                  o
             Department store (name):                                                                       $              0 $                 a
             Other:                                                                                         $              0 $                 0

 Alimony, maintenance, and support paid to others                                                           $              0 $                 0



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Regular expenses for operation of business, profession, or farm (attach detailed                          $             $
statement)

Other (specify):                                                                                          $             $

                                                                                                          $    2835.00 $                     624.00
                                                                             Total monthly expenses:                           ~~   ._   '




9.        Do you· expect any major changes to your monthly income or expenses or in your asset-; or liabilities during the
          next 12 months?                            ·
          0 Yes           ~No                         If yes, describe on an attached sheet.

10.      ·Have you spent -                    or wil1 you be spending - any money for expenses or attorney fees in conjunction with this
          1--··-··;_.<l   ml      "V--         M""-T-
          14Wl3U1LS       L:..J   J..   'V~    L.1   .l~U




          If yes, how much? $ - - - - - - - -

11.       Provide any other information that will help explain why you cannot pay the costs of these proceedings.




         I was on my way to work when I was severely injured in a car wreck 10
         years ago. My injuries caused me to become disabled, and as a re~ult, my
         employer fired me. He stated that it was because I was disabled. I have
         been attempting (through the courts) for over a decade to recover the
         money that is owed me. The State of North Carolina has used its
         apparently unlimited funds to prevent this case from ever going before a
         judge.
         THIS CASE HAS NEVER BEEN ADJUDICATED and I have suffered
         tremendous financial hardship because of this.

         My legal residence is Midland, NC
         Phone Number 704-888-6775

         Age:71                                         Years of Schooling: 16




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